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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     March 2, 2020

BY EMAIL

Catherine O’Hagan Wolfe, Clerk of Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     New Chief of Appeals


Dear Ms. Wolfe,

        As we discussed today, my last day at the U.S. Attorney’s Office is March 6, 2020. My
successor as Chief of Appeals for the Criminal Division is Won Shin. If you would be so kind as
to substitute him as counsel for the Office in every case in which I now appear, and to list him as
the default representative of the Office in all new criminal appeals, we would be very grateful.
Please let me know if there is anything we can do to facilitate that change. Won’s email address
is WShin@usa.doj.gov, and his phone number is (212) 637-2226.

       Thank you very much for your consideration.


                                      Respectfully submitted,


                                      /s/ Sarah K. Eddy
                                      Sarah K, Eddy
                                      Assistant U.S. Attorney
                                      (212) 637-1033

cc:    Won Shin
